 Case 3:15-cv-02069-K Document 402 Filed 03/27/18                 Page 1 of 4 PageID 14878


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

CITY OF DALLAS,                                  §
           Plaintiff,                            §
v.                                               §    Civil Action No. 3:15-CV-02069-K
                                                 §
DELTA AIR LINES, INC., et al.,                   §
           Defendants.                           §



 THE CITY OF DALLAS’S MOTION TO DISMISS THE FEDERAL AGENCIES AND
        MOTION TO WITHDRAW ITS REQUEST FOR LEAVE TO FILE
                    A SUPPLEMENTAL COMPLAINT

       Now comes the City of Dallas (“the City”) and files this motion to dismiss the United States

Department of Transportation (“DOT”) and Federal Aviation Administration (“FAA”) from this

action and to withdraw the City’s motion to file a supplemental complaint against the DOT and

FAA and would show the Court the following:

                                                I.

       The City filed an original complaint in 2015 that named DOT and FAA as Defendants.

(ECF No. 1). DOT and FAA moved to dismiss the claims against them. (ECF No. 321). The City

sought leave to supplement the complaint based on the filing of the FAA Notice of Investigation

against the City. (ECF No. 312, 312-1).

       Pursuant to Rule 41(a)(2), the City requests that DOT and FAA be dismissed from this

action. Fed. R. Civ. P. 41(a)(2). The City no longer seeks any relief against DOT and FAA. DOT

and FAA did not assert any counterclaim against the City or any claim against any other party. No

other party asserted claims against DOT and FAA. Pending the granting of this Motion to Dismiss,

the FAA Notice of Investigation is being withdrawn and FAA is closing that proceeding without




                                                1
 Case 3:15-cv-02069-K Document 402 Filed 03/27/18                    Page 2 of 4 PageID 14879


prejudice. In light of that action, the City withdraws its motion to supplement the complaint. With

the agreed dismissal, DOT and FAA’s motion to dismiss becomes moot.

       The dismissal is without prejudice and the City, DOT and FAA reserve the right and ability

at any point in the future to file any claim or lawsuit, or institute any proceeding or take any action

against each other or any other person. The City, DOT, and FAA agree to bear their own attorneys’

fees and costs. DOT and FAA do not oppose and agree to this motion.

                                 CONCLUSION AND PRAYER

       The City requests that the Court dismiss the City’s claims against DOT and FAA without

prejudice, that DOT and FAA be dismissed from this case, that the City’s motion for leave to file

a supplemental complaint be withdrawn, that DOT and FAA’s motion to dismiss be treated as

moot, and that the City, DOT, and FAA bear their own attorneys’ fees and costs.



                                               Respectfully submitted,

                                               OFFICE OF THE CITY ATTORNEY
                                               CITY OF DALLAS, TEXAS

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                                                  2
 Case 3:15-cv-02069-K Document 402 Filed 03/27/18                 Page 3 of 4 PageID 14880


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                                            ATTORNEYS FOR THE CITY OF DALLAS



                             CERTIFICATE OF CONFERENCE

       The undersigned certifies, the undersigned conferred via email with counsel for all parties

on March 23, March 26, and March 27, 2018. Counsel for American Airlines, Southwest Airlines,

United Airlines, had no opposition to the motion. Counsel for DAA and DOT had previously

agreed to the motion. No response was received by the City from the remaining parties, Delta Air

Lines and Virgin American.


                                            s/ Charles S. Estee




                                                3
 Case 3:15-cv-02069-K Document 402 Filed 03/27/18                  Page 4 of 4 PageID 14881



                                CERTIFICATE OF SERVICE

       I hereby certify that on March 27, 2018, I electronically filed the foregoing document with

the Clerk of Court for the United States District Court for the Northern District of Texas using the

electronic case filing system of the Court. Service on all attorneys of record who are Filing Users

will be automatically accomplished through Notice of Electronic Filing.

                                                                     /s/ Charles S. Estee

                                                                     Charles S. Estee




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